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              16        Oakland, a municipal corporation, acting by and
                        through its Board of Port Commissioners (Port of
              17        Oakland)
              18

              19                                  UNITED STATES DISTRICT COURT
              20                               NORTHERN DISTRICT OF CALIFORNIA
              21
                        CITY AND COUNTY OF SAN                          Case No. 3:24-cv-02311-TSH
              22
                        FRANCISCO,
                                                                        DECLARATION OF JOHN
              23
                                             Plaintiff,                 ALBRECHT
              24
                        v.                                              Date: November 7, 2024
                                                                        Time: 10:00 AM
              25
                        CITY OF OAKLAND AND PORT OF                     Courtroom: E – 15th Floor
                        OAKLAND,                                        Trial Date: (None Set)
              26
                                             Defendants.
              27


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                        DECLARATION OF JOHN ALBRECHT - 1                                CASE NO. 3:24-CV-02311-TSH
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                1
                        CITY OF OAKLAND, A MUNICIPAL
                2       CORPORATION, ACTING BY AND
                        THROUGH ITS BOARD OF PORT
                3       COMMISSIONERS (PORT OF OAKLAND),
                4                      Counterclaimant,
                5       v.
                6       CITY AND COUNTY OF SAN
                        FRANCISCO,
                7
                                       Counterclaim Defendant.
                8

                9              I, John Albrecht, declare as follows:
              10               1.      I am over the age of 18 years and am competent to testify. I make this
              11        declaration based on personal knowledge unless otherwise stated herein.
              12                                                My Background
              13               2.      I am the Aviation Marketing Manager (“AMM”) for the Port of Oakland’s
              14        Aviation Division. I have served in this role for over sixteen years, since 2008.
              15               3.      As AMM, I head the Port’s marketing and communications department for its
              16        airport, the San Francisco Bay Oakland International Airport (the “Airport” or “OAK”). As
              17        such, I lead teams in the development and implementation of consumer-facing marketing
              18        strategies and brand campaigns for the Airport, including managing air service development,
              19        advertising, and public engagement. Given my work as AMM, I am familiar with Airport
              20        business matters, records and files, industry engagement and relationships, and the broader
              21        commercial aviation market.
              22               4.      My role as AMM is a continuation of a forty-year career in the aviation industry
              23        during which I have also worked as Manager of Airline Business at the Reno-Tahoe Airport
              24        Authority, Vice President for North America & Pacific at Aloha Airlines, Director of Airport
              25        Affairs for Reno Air, and Director of Customer Services for PSA Airlines. My work in these
              26        positions and my broad industry experience enable me to evaluate input from airlines and other
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                1       industry players, and to understand what travelers look for when deciding where to travel, as

                2       well as how to effectively market airports to address travelers’ interests and needs.

                3              5.        In November 2022, I received the Ted Bushelman Legacy Award for Creativity

                4       and Excellence from Airports Council International North America (ACI-NA). I was the first

                5       person from California to receive this lifetime achievement award. Attached hereto as Exhibit

                6       A is a true and correct copy of the ACI-NA’s list of award recipients over the years, which is

                7       available at: ACI-NA - Ted Bushelman Legacy Award for Creativity and Excellence (secure-

                8       platform.com).

                9                                    OAK’s Distinct Identity and Branding

              10               6.        The Airport sits on the shores of the San Francisco Bay. Given its geographic

              11        location, OAK is exceptionally situated to be an especially convenient option for air travel into

              12        and out of the Bay Area. This is a prime feature of the Airport that is important to effectively

              13        communicate to Bay Area residents and potential visitors outside of California and beyond.

              14               7.        The Port’s goal is to present and market OAK as a distinct choice for air travel

              15        into and out of the San Francisco Bay Area. In this regard, we focus on OAK’s location, the

              16        convenience that it offers passengers, and we promote OAK as an efficient and hassle-free

              17        option for traveling through an airport to destinations throughout the Bay Area.

              18               8.        During my time as AMM, the Port has worked to build OAK’s identity and

              19        associated branding. Shortly after I joined the Port, we developed the I Fly OAK logo that

              20        leverages the Airport’s unique and ubiquitous IATA code – OAK – to identify, define, and

              21        promote the Airport. Below is an accurate depiction of that logo, one in black and white, and

              22        one in color:

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                1                9.    Over the past fifteen years, we have used the iconic I Fly OAK logo and

                2       branding on signs throughout the Airport, on our website, in digital and print marketing

                3       materials, in ad campaigns, and at industry events. We continue to do so and have no plans to

                4       stop.

                5                10.   We were also early adopters among airports of social media marketing, and have

                6       used – and continue to use – the I Fly OAK logo throughout our social media accounts, posts,

                7       and online presence.

                8                11.   For example, below is an accurate screenshot of the Airport’s current Facebook

                9       page header, where we continue to feature the I Fly OAK logo:

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              21                 12.   As another example, here is an accurate screenshot of the Airport’s current

              22        Instagram page header:

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                1              13.    Below is an accurate screenshot of the Airport’s X (formerly Twitter) current

                2       page header when the account is viewed while not logged into X:

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              13               14.    Below is an accurate screenshot of the Airport’s current website home page

              14        (www.iflyoak.com):

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                1                 15.   The Port’s focus is on promoting a distinctive and recognizable identity for

                2       OAK that leverages OAK’s unique strengths and characteristics. For example, in our digital

                3       and printed materials, videos, and advertisements we emphasize OAK’s convenience and ease

                4       of use.

                5                 16.   OAK offers a different choice for air travel into and out of the Bay Area, and we

                6       seek to capitalize on that and highlight the benefits of flying through OAK. We are not seeking

                7       to “copy” the airport experience offered by SFO (the San Francisco International Airport) or to

                8       copy or replicate SFO’s name or branding. Nor do we want passengers to think that OAK is

                9       owned, operated by, or affiliated with the City and County of San Francisco. And we are not

              10        somehow trying to “denigrate” SFO.

              11                                   Marketing OAK’s San Francisco Bay Location

              12                  17.   Over the years, we have accompanied our efforts to build OAK’s brand with

              13        messaging to communicate that OAK serves the San Francisco Bay Area, and is a convenient

              14        gateway for travel into and out of the entire region.

              15                  18.   In this regard, along with the I Fly OAK logo, in 2009 we also developed and

              16        began using this logo with two different, additional taglines: Fly the East Bay Way, and The

              17        Best Way to San Francisco Bay. Below is an accurate depiction of the I Fly OAK logo with the

              18        tagline The best way to San Francisco Bay:

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              22                  19.   For example, attached hereto as Exhibit B is a true and correct copy of an

              23        advertisement we used in 2009.

              24                  20.   In the Port’s video media campaigns, we highlighted OAK’s convenient location

              25        on San Francisco Bay. For example:

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                1                        a.     In 2011, the Port celebrated Spirit Airlines launching nonstop service to

                2       Las Vegas using “The Best Way to San Francisco Bay” branding in its promotional video. An

                3       accurate copy of that video can be viewed at: www.youtube.com/watch?v=Jp1RQMJ2fJw.

                4                        b.     In 2014, the Port published a video ad for OAK that emphasized the

                5       Airport’s convenience, and how it “is located in the heart of the San Francisco Bay.” An

                6       accurate copy of that video can be viewed at: www.youtube.com/watch?v=HZiRGGY8UXg.

                7                        c.     In 2017, OAK’s promotional video starts by identifying that the Airport

                8       is “located on San Francisco Bay.” An accurate copy of that video can be viewed at:

                9       www.youtube.com/watch?v=EhNWVGugEjg.

              10                         d.     In 2021, OAK’s promotional video emphasized the Airport’s

              11        convenience and time one can save if they choose to fly out of OAK. An accurate copy of that

              12        video can be viewed at: "What will you do with the extra hour?" (youtube.com).

              13               21.       In our press releases and print media campaigns, we regularly point out that the

              14        Airport serves the San Francisco Bay Area or is located on San Francisco Bay. See, for

              15        example, Exhibit C, which contains true and correct copies of Port press releases that include

              16        or feature that OAK serves the San Francisco Bay Area or is conveniently located on San

              17        Francisco Bay.

              18                 Impact of Lack of Traveler Familiarity with OAK’s Geographic Location
                                                         on Route Development
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                               22.       Despite the Airport’s geographic location in the heart of the San Francisco Bay
              20
                        Area, and the local population base that it is well positioned to serve, OAK has faced
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                        difficulties attracting and maintaining nonstop routes.
              22
                               23.       For almost a decade, the Aviation Division worked on this issue, including by
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                        engaging consultants to study facets of the problem and potential solutions, working with
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                        catchment data and related travel information, and through discussions with airlines and others.
              25
                        In this regard, I worked with consultants on route and passenger analysis, and with others
              26
                        regarding studies of consumer awareness of OAK’s geographic location among those who live
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                1       outside of the Bay Area, California, and beyond. I have also talked with many airline

                2       representatives regarding their input and perspective.

                3               24.    The underlying issue was a lack of consumer awareness of the Airport’s central

                4       location on the San Francisco Bay which can suppress strong in-bound passenger demand. This

                5       is discussed in more detail in the Declaration of Dr. Sabine Reim. At a high level, the right mix

                6       of passenger demand is needed to make airline routes financially sustainable. The lack of

                7       awareness among people outside of the area that OAK is centrally located in the San Francisco

                8       Bay Area creates challenges in establishing the necessary passenger revenue composition for

                9       route development and maintenance.

              10                25.    I also understand that airlines, online travel agents, and other flight search

              11        websites use data feeds and/or their own algorithms and sorting rules to display flight search

              12        results, which may involve alphabetical and/or area groupings and/or the use of back-end codes

              13        or rules such that OAK flights are not always displayed when people search for flights using

              14        “San Francisco Bay” or “San Francisco” as keywords.

              15                26.    So, if there is sufficient outbound demand for a flight to a certain destination –

              16        that is, enough people in the Bay Area would use that route – the route needs revenue generated

              17        by in-bound traffic as well to make it sustainable.

              18                Inclusion of OAK’s Location on San Francisco Bay into the Airport’s Name

              19                27.    To help address this issue, and based upon airline input, we evaluated whether to

              20        potentially recommend that the Port modify OAK’s full name to bring awareness to the

              21        Airport’s central location in the San Francisco Bay Area and to help make routes to and from

              22        OAK more readily appear as options in responses to searches for flights to the area.

              23                28.    In this regard, we considered several different potential changes to OAK’s full

              24        name.

              25                29.    I also spoke with airline representatives and other industry stakeholders and

              26        received their input.

              27


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                1              30.    Ultimately, the Aviation Division, together with the Port’s Executive Director,

                2       presented a recommendation at the Board of Port Commissioner’s April 11, 2024 public

                3       meeting regarding replacing the word “Metropolitan” with “San Francisco Bay” to feature

                4       OAK’s geographic location at the beginning of its full formal name. My understanding is that

                5       OAK’s name had started with “Metropolitan” since around the mid-1950s.

                6              31.    The Airport’s IATA code remains the same, and the Port continues to utilize and

                7       build upon its I Fly OAK logo and branding. Below is an accurate depiction of what the old

                8       logo and name looked like and what the proposed same logo and new name looked like:

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              18               32.    On May 9, 2024, the Board of Port Commissioners passed on second reading an

              19        Ordinance changing OAK’s full name from the Metropolitan Oakland International Airport to

              20        the San Francisco Bay Oakland International Airport.

              21               33.    Ever since then, we have continued using OAK’s I Fly OAK logo and branding

              22        on our website, social media accounts, signage, and marketing materials. We plan to continue

              23        doing so. We have invested substantially in this branding and featuring OAK remains central to

              24        our marketing and communication efforts and our identity.

              25               ///

              26               ///

              27


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